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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 19-cv-21586

 IRAIS HERNANDEZ,

         Plaintiffs,

 v.

 DEPARTMENT STORES NATIONAL BANK,

         Defendant.

 _______________________________________/

                                           COMPLAINT
                                          JURY DEMAND

         1.       Plaintiffs allege violations of the Telephone Consumer Protection Act, 47 U.S.C.

 §227, et seq., Florida Consumer Collection Practices Act, Fla. Stat. §559.72 et seq. (“FCCPA”)

 and the tort of wrongful garnishment.

                                  JURISDICTION AND VENUE

         2.       This Court has jurisdiction under 28 U.S.C. §§1331, 1337, and 1367. Venue in this

 District is proper because Plaintiff resides here and Defendant sent communications to Plaintiff in

 this District.

                                              PARTIES

         3.       Plaintiff, IRAIZ HERNANDEZ (“HERNANDEZ”), is a natural person, and citizen

 of the State of Florida, residing in Miami-Dade County, Florida.

         4.       Defendant, DEPARTMENT STORES NATIONAL BANK (“DSNB”), is a limited

 purpose national bank that operates as a subsidiary of Citibank, N.A. and is jointly owned by

 Citibank and Macy’s. It is headquartered in South Dakota.

         5.       At all times, material, Plaintiff was and is a consumer as defined by the FCCPA.
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         6.       At all material times, the communications alleged herein were “communications”

 as defined under the FCCPA.

         7.       Defendant extended credit to the Plaintiff and is a “creditor” as defined in the

 FCCPA.

                                    FACTUAL ALLEGATIONS

         8.       Defendant sought to collect from Plaintiff an alleged debt for a consumer loan.

         9.       The debt was for a personal, household, or family purpose.

         10.      Plaintiff opened and used a Macy’s credit card.

         11.      Due to financial difficulties, Plaintiff retained the undersigned to negotiate her

 debts including the Macy’s credit card debt (“Debt”).

         12.      On October 18, 2018, Joel D. Lucoff, sent a letter to Defendant. The letter

 specifically requested that Defendant cease and desist all communications with Plaintiff. Attorney

 Lucoff continues to represent Plaintiff.

         13.      On or about October 29, 2018, Defendant mailed a letter seeking to collect the Debt

 directly to Plaintiff at her home address.

         14.      Defendant was aware that Joel D. Lucoff represented and continued to represent

 the Plaintiff.

         15.      Defendant was aware that by sending communications directly to Plaintiff, it

 violated the FCCPA.

         16.      At no time did Defendant attempt to contact attorney Joel D. Lucoff.

         17.      Plaintiff did not consent to direct communication with Defendant.

         18.      Plaintiff did not initiate any communication with Defendant.

         19.      Defendant, or others acting on its behalf, contacted Plaintiff via her cellular

 telephone.

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         20.     Defendant, or others acting on its behalf, left messages of pre-recorded telephone

 messages on Plaintiff’s cellular telephone and called and hung up without leaving messages on

 other occasions (“the telephone messages”).

         21.     Defendant, or others acting on its behalf, used an automatic telephone dialing

 system or a pre-recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

         22.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C. §227(b)(a)(A).

         23.     Defendants willfully or knowingly violated the TCPA.

                                   COUNT I
                 COMMUNICATION WITH A CONSUMER REPRESENTED
                  BY COUNSEL IN VIOLATION OF Fla. Stat. §559.72(18)

         24.     Plaintiff incorporates Paragraphs 1 through 19.

         25.     Defendant communicated directly with Plaintiff when Defendant knew Plaintiff

 was represented by an attorney in violation of Fla. Stat. §559.72 (18).

         26.     The FCCPA provides for equitable relief including injunctive relief. Berg v.

 Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla. 2008).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

 against Defendant for:

                 a.       Damages;

                 b.       Attorney’s fees, litigation expenses and costs of suit;

                 c.       declaring that Defendant’s direct communication with Plaintiff violates the

                 FCCPA;

                 d.       permanently enjoining Defendant from direct communication with

                 Plaintiff; and

                 e.       Such other or further relief as the Court deems proper.

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                                COUNT II
          VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        27.      Plaintiff incorporates Paragraphs 1 through 23.

        28.      Defendant, or others acting on its behalf, placed non-emergency telephone calls to

 Plaintiff’s cellular telephone using an automatic dialing system or pre-recorded or artificial voice

 in violation of 47 U.S.C. §227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff requests that this Court enter judgment in favor of Plaintiff and

        against Defendant for:

              a. Damages;

              b. A declaration that Defendant’s calls violate the TCPA;

              c. A permanent injunction prohibiting Defendant from placing non-emergency calls

                 to the Plaintiff’s cellular telephone using an automatic telephone dialing system or

                 pre-recorded or artificial voice; and

              d. Such other and further relief as the Court deems proper.

                                              JURY DEMAND

         Plaintiff demands trial by jury.

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                                                           /s/ Joel D. Lucoff
                                                         Joel D. Lucoff
                                                         Fla. Bar No. 192163




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